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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
FT. MYERS DIVISION

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,
Plaintiff,
CIVIL ACTION NO.:
2:11-cv-00158-UA-SPC
Vv.

DIMARE RUSKIN, INC.,

 

Defendant.
CONSENT DECREE
l. This Consent Decree (“Decree”) is made and entered into by and between

Plaintiff Equal Employment Opportunity Commission (the “Commission” or “EEOC”) and
Defendant DiMare Ruskin, Inc. (“Defendant”). The Commission and Defendant are collectively
referred to as the “Parties” throughout this Decree.
INTRODUCTION

2. The Commission filed this action on March 22, 2011, alleging that Defendant
subjected Catalina Ramirez (Jaimes) and Lucia Reyes Cruz to a sexually hostile work
environment, in violation of Title VII of the Civil Rights Act of 1964 (“Title VII’), and Section
102 of the Civil Rights Act of 1991. EEOC also alleged that Defendant retaliated against
Catalina Ramirez (Jaimes) when it assigned her more physically demanding tasks, and further
retaliated against Ramirez and Lucia Reyes Cruz when it terminated their employment because

they opposed Defendant’s harassing conduct.
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3. In the interest of resolving this matter, to avoid further costs of litigation, and as a
result of having engaged in comprehensive settlement negotiations, the Parties have agreed that
this action should be finally resolved by the entry of this Decree. This Decree is final and
binding on the Parties, and their successors and assigns.

4. This Decree fully and finally resolves claims filed by the Commission in this
action against Defendant arising from EEOC Charges of Discrimination Nos. 511-2009-01808
and 511-2009-01853. The Parties further agree that this Decree does not resolve any Charges of
Discrimination that may be pending with the Commission against Defendant other than the
Charges referred to in this paragraph.

I. FINDINGS

3: Having carefully examined the terms and provisions of this Decree, and based on
the pleadings, record, and stipulations of the parties, the Court finds the following:

a. This Court has jurisdiction over the subject matter of this action and the Parties.

b. No party will contest the jurisdiction of this Federal Court to enforce this Decree
and its terms or the right of EEOC to bring an enforcement suit upon alleged
breach of any term(s) of this Decree.

es, The terms of this Decree are adequate, fair, reasonable, equitable, and just. The
rights of Catalina Ramirez (Jaimes) and Lucia Reyes Cruz, the Defendant, and the
public’s interests are adequately protected by this Decree.

d. The terms of this Decree are and will be binding upon the present and future
representatives, agents, directors, and officers, successors and assigns of
Defendant.

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:
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Il. INJUNCTIVE PROVISIONS

6. Defendant, and all of Defendant’s officers, managers, employees, agents,
partners, successors and assigns, are enjoined from engaging in unlawful conduct that
discriminates on the basis of sex, or that subjects employees to a sexually hostile work
environment, in violation of Title VII.

a Defendant, and all of Defendant’s officers, managers, employees, agents,
partners, successors, assigns and all persons acting in concert with Defendant, are enjoined from
engaging in any form of retaliation against any person because such person has opposed any
practice made unlawful under Title VII, filed a Charge of Discrimination under the Title VII,
testified or participated in any manner in any investigation, proceeding, or hearing under Title
VII, or asserted any rights under this Decree, including but not limited to Catalina Ramirez
(Jaimes) and Lucia Reyes Cruz.

Ill. MONETARY CONSIDERATION

8. To avoid further litigation expenses and without admitting to any wrongdoing or
violation of law, Defendant agrees to pay an aggregate of the gross amount of $150,000.00 to
Charging Party Catalina Ramirez and Charging Party Lucia Reyes Cruz ($57,500.00 to each
party, $35,000.00 to their private counsel). This $150,000.00 shall be the full and final amount
Defendant shall pay to settle claims brought by the Commission, Catalina Ramirez, and Lucia
Reyes Cruz in this lawsuit under EEOC Charges of Discrimination Nos. 511-2009-01808 and
511-2009-01853.

9. Copies of all checks will be forwarded to the attention of Robert E. Weisberg,
Regional Attorney, U.S. Equal Employment Opportunity Commission, 2 South Biscayne

Boulevard, Suite 2700, Miami, Florida 33131 within five (5) calendar days of issuance.
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10. If Defendant fails to tender the payments described in paragraph eight (8) above,
then Defendant will pay interest on the defaulted payment at the rate calculated pursuant to 26
U.S.C. Section 6621(b) until the same is paid, and bear any additional costs incurred by the non-

compliance or delay of the Defendant.

IV. REVISION AND DISTRIBUTION OF POLICY

im Within 30 days of submission of this Decree to the Court, Defendant will revise
its written discrimination policy. The revised discrimination policy (“Anti-Discrimination
Policy”) will prohibit all forms of discrimination under Title VII, including, but not limited to
discrimination based on sex and sexual harassment. The Anti-Discrimination Policy will state
that employees who complain about discrimination, oppose discrimination, and/or engage in any
other protected activity will be protected against retaliation. The Anti-Discrimination Policy will
also contain a procedure by which employees who feel they have been subjected to
discrimination can report the discrimination. This reporting procedure will clearly define the
chain of command which identifies the appropriate supervisor(s) and/or other managers or
supervisors to whom the employee should report discriminatory conduct. The Anti-
Discrimination Policy will also identify the person to whom an employee should report
discriminatory conduct in the event that the employee is alleging that the discriminatory conduct
is being perpetrated by the manager or supervisor who would otherwise be identified as the
person responsible for receiving complaints of discrimination. The Anti-Discrimination Policy
will state that Defendant will take immediate and appropriate corrective action if and when it
determines that discrimination has occurred and that employees who violate the policy are
subject to discipline up to and including discharge. The policy will also specify that such

conduct will not be tolerated from third parties (which shall include DiMare Ruskin, Inc.
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employees, customers, agents, contractors, sub-contractors, clients and any other persons present
at any of Defendant’s facilities and locations).

12. A copy of the Anti-Discrimination Policy referenced in paragraph 11 shall be
forwarded to the Commission for review within 60 days of submission of this Decree to the
Court. This and any other submissions, reports, certifications, notices, or other materials that are
required to be submitted to the Commission shall be mailed to: Robert E. Weisberg, Regional
Attorney, U. S. Equal Employment Opportunity Commission, 2 South Biscayne Blvd., Suite
2700, Miami, Florida 33131.

13. The revised Anti-Discrimination Policy will be disseminated to all employees of
Defendant within fifteen (15) calendar days from the date the Court enters this Decree.

14. The Anti-Discrimination Policy will also be kept and maintained in a conspicuous
and accessible place for all employees at each of Defendant’s facilities and printed in a font that
is easily legible.

15. | A copy of the Anti-Discrimination Policy shall be distributed to each new full-
time, part-time, seasonal or temporary employee or contractor within five (5) days of the
individual’s date of hire. Defendant shall give a duplicate copy of the Anti-Discrimination
Policy to any employee who requests it, and shall advise all of Defendant managers of
Defendant’s obligations to provide such copies. The policy referenced in this section must be
posted and disseminated in English, Spanish, and Haitian Creole.

V. TRAINING

16. During each of the three (3) years covered by this Decree, Defendant will provide

two (2) hours of live in-person training annually to all of its employees, including all

management personnel, on all equal employment opportunity laws and the Defendant’s Anti-
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Discrimination Policy. During each training conducted, an entire two (2) of those training hours
will be devoted to educating all employees about their rights arising under Title VII and all
applicable anti-discrimination laws, and, further, educating them about what conduct constitutes
sexual harassment under Title VII. The trainings will be conducted by an outside entity or
vendor to be agreed upon by the Defendant and EEOC before the execution of this Decree. The
first in-person training session shall be video recorded and Defendant shall ensure that each
employee hired after the training session has been conducted will view the video recording
within five (5) business days of his or her date of hire. These trainings will be conducted in
addition to other job-related training and/or business-wide meetings and the training session(s)
will be dedicated solely to all equal employment opportunity laws and Defendant’s Policy.
Defendant agrees to provide an additional two (2) hours of live in-person training annually to its
managerial employees, including Human Resources personnel, during each of the three (3) years
covered by this Consent Decree. Defendant agrees that at least one half (1/2) hour of each of
these additional trainings will be devoted to training relating to sex discrimination and what
conduct constitutes sexual harassment. Defendant agrees that EEOC may, at EEOC’s discretion,
be in attendance at each training session. The first training will take place within sixty (60)
calendar days from the date that the 2012-2013 DiMare Immokalee growing season commences.
Such training shall occur no later than November 15, 2012.

17. Defendant agrees to provide EEOC with written notice of each training session,
including the location of the training, and provide copies of any and all pamphlets, brochures,
outlines, or other written materials to be provided to the participants of the training sessions, no

later than fifteen (15) days before each session.
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18. Within ten (10) calendar days of the completion of each training, Defendant will
notify EEOC of the dates the training was conducted, the name and title of the person(s) who
conducted the training(s), and provide an attendance sheet for the training session.

VI. MONITORING AND REPORTING

19. Defendant will furnish to EEOC the following written reports twice annually for a
period of three (3) years from the date the Court executes this Decree. The first report will be
due four (4) months from the date the Court executes this Decree, and every six (6) months
thereafter. Each such report will contain:

a. A description of each complaint of discrimination made under Title VII,
ADA, or the ADEA made by any employee at any of Defendant's
facilities, including the names, addresses and current telephone numbers
of the complaining parties and any witnesses identified by the complaining
party, and the resolution of such complaint.

b. A description of any and all action Defendant took in response to each
complaint described in 19.a above, and any non-privileged written
statements obtained or provided by the person bringing the complaint and
any witnesses.

c. A certification by Defendant that the Notice required to be posted pursuant
to Section VII of this Decree remained posted during the entire six (6)
month period preceding the report, and newly hired employees were
trained consistent with Section V above.

20. Defendant agrees that they will make all employees available to EEOC for

interviewing in connection with any EEOC investigation.
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21. |The Commission may review compliance with this Decree. As part of such
review, the Commission may inspect Defendant’s facilities, interview employees and examine
and copy documents. Defendant agrees that it will make all employees available to the
Commission for interviewing in connection with this compliance review.

22. Nothing contained in this Decree will be construed to limit any obligation
Defendant may otherwise have to maintain records under Title VII or any other law or
regulation.

VII. POSTING OF NOTICE

23. Within ten (10) business days after the date the Court enters this Decree,
Defendant will post laminated copies of the Notice attached as Exhibit A to this Decree at each
of Defendant’s facilities in a conspicuous location easily accessible to and commonly frequented
by employees of Defendant. For all farm facilities, the Notice shall be posted in the same area
where all other employee postings are located. The Notice shall be posted in English, Spanish,
and Haitian Creole. The Notice will be at least eleven (11) inches by fourteen (14) inches. The
Notices will remain posted for three (3) years from the date the Court enters this Decree.
Defendant will take all reasonable steps to ensure that the posting is not altered, defaced or
covered by any other material.

VII. DISPUTE RESOLUTION

24. No party will contest the jurisdiction of the federal court to enforce this Decree
and its terms or the right of any party to bring an enforcement suit upon breach of any of the
terms of this Decree by any other party. Breach of any term of this Decree should be deemed to
be a substantive breach of this Decree. The Court will retain jurisdiction over any such

enforcement proceedings during the duration of this Consent Decree. Nothing in this Decree
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will be construed to preclude EEOC from bringing proceedings to enforce this Decree in the
event that Defendant fails to perform any of the promises and representations contained herein.

25. In the event that EEOC believes that Defendant has failed to comply with any
provision(s) of the Decree, EEOC will notify the Defendant of its belief that Defendant has
breached the terms of this Decree and Defendant must make a good faith attempt to cure any
breach of the Decree within fifteen (15) business days of notification. Following the fifteen (15)
business day cure period, and consistent with Title VII, EEOC shall have the right to enforce the
Decree and/or remedy any breach in this Court.

IX. DURATION OF THE DECREE AND RETENTION OF JURISDICTION

26. All provisions of this Decree will be in effect for a period of three (3) years
immediately following the date the Court enters this Decree. The Court shall retain jurisdiction
throughout the entirety of the three (3) years immediately following the date the Court executes
this Decree for the purpose of the enforcement of the terms of the Decree. Upon expiration of
this three (3) year period, the Court shall retain jurisdiction only for the purpose of enforcing any
violations of this Decree which are alleged to have occurred during the period of time covered by
this Decree.

27. Each party to this Decree will bear its own expenses, costs and attorneys’ fees, if
applicable.

28. DiMare Ruskin, Inc. shall bear all costs incurred by the EEOC caused by
Defendant’s non-compliance with this Decree, including but not limited to any and all costs

arising out of EEOC’s efforts to enforce this Decree and/or remedy any breach in this Court.
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X. NOTIFICATION OF SUCCESSORS
29. During the term of this Decree, Defendant shall provide prior written notice to
any potential purchaser of Defendant’s business, a purchaser of all or a portion of Defendant’s
assets, or to any other potential successor of the Commission’s lawsuit, of the allegations raised

in the Commission’s complaint, and the existence and contents of the Decree.

XI. NO CONDITIONAL RECEIPT
30. Defendant will not condition the receipt of individual relief on
an individual's agreement to (a) maintain as confidential the terms of this Consent
Decree, (b) waive her statutory right to file a charge with any federal or state anti-discrimination

agency, or (c) waive her right to apply for a position with Defendant.

DATED: 7 4/I2-

ENTERED:
THE HONORABLE GREGORY A. PRESNELL
UNITED STATES/DISTRICT COURT JUDGE

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For U.S. Equal Employment Opportunity
Commission:

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ROBERT E. cy
Regional Attorney

Florida Bar No. 285676
KALEB M. KASPERSON
Trial Attorney

Florida Bar No. 658766

U.S. EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION
One Biscayne Tower

2 S. Biscayne Blvd., Suite 2700
Miami, Florida 33131
Telephone: (305) 808-1786
Facsimile: (305) 808-1835

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For Defendant:

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DAV J. STEFANY

Florida Bar No. 0438

Counsel for Defendant

ALLEN, NORTON, & BLUE, P.A.
Hyde Park Plaza — Suite 225

324 South Hyde Park Avenue
Tampa, Florida 33606-4127
Telephone: (813) 251-1210
Facsimile: (813) 253-2006

 

Vice President; DiMare Ruskin, Inc.
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EXHIBIT A

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This Notice is being’ instant to a Cons yt :
District Court in EEOC v. DiMare Ruskin, Inc., 2:11-cv-00158-UA-SPC. The EEOC aikged
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the Civil A hehe Act of 1964. DilVare Ruskin, inc. admits to no wrongdoing or violation of lew
as part of entering into this Consent Decree. Pursuant to the Consent Decree, DiMare Ruskin,
Inc. agree to take certain actions to ee future sexual harassment at its facilities as set out in

 

 

  
  
 
  
 
  
   
  
 

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This Notice must remain posted for three (3) years from the date below and must not be
altered, defaced, or covered by any other material. Any questions about this Notice or
compliance with its terms may be directed to: Robert E. Weisberg, Regional Attomey, U.S.
Equal Employmeat Opportunity Commission, 2 South Biscayne Bivd., Suite 2700, Miami,
Florida 33131. ls f

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Date:
